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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF IOWA
                                     CENTRAL DIVISION


 JASON CARTER,                                                             Case No. 4:19-cv-00401-CRW-CFB

           Plaintiff,
                                                                                DEFENDANTS REED
 v.                                                                             KIOUS’S AND MARION
                                                                                COUNTY, IOWA’S REPLY
 MARK LUDWICK, Agent of Iowa                                                    BRIEF TO PLAINTIFF’S
 Department of Criminal Investigation, in                                       RESISTANCE TO
 his official capacity;                                                         DEFENDANTS’ RULE 12(b)(6)
                                                                                PRE-ANSWER MOTION TO
 MARION COUNTY, IOWA;                                                           DISMISS

 REED KIOUS, Marion County Deputy
 Sheriff in his individual capacity;

 BILLY GENE CARTER,

           Defendants.


         COMES NOW the Defendants, Marion County, Iowa and Reed Kious, Marion

County Deputy Sheriff in his individual capacity, by and through undersigned counsel, and

for their Reply Brief to Plaintiff’s Resistance to Defendants’ Rule 12(b)(6) Pre-Answer

Motion to Dismiss, state as follow:

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A.      PLAINTIFF’S SECOND AMDENDED COMPLAINT MUST BE
        DISMISSED BECAUSE IT IS AN IMPERMISSIBLE “SHOTGUN
        PLEADING.”

        Plaintiff argues that his Second Amended Complaint is not an impermissible

“shotgun pleading.” Plaintiff is wrong. The Eleventh Circuit has provided a clear

discussion on the different types of shotgun pleadings, stating:

        Though the groupings cannot be too finely drawn, we have identified four
        rough types or categories of shotgun pleadings. The most common type—
        by a long shot—is a complaint containing multiple counts where each
        count adopts the allegations of all preceding counts, causing each
        successive count to carry all that came before and the last count to be a
        combination of the entire complaint. The next most common type, at least
        as far as our published opinions on the subject reflect, is a complaint that
        does not commit the mortal sin of re-alleging all preceding counts but is
        guilty of the venial sin of being replete with conclusory, vague, and
        immaterial facts not obviously connected to any particular cause of
        action. The third type of shotgun pleading is one that commits the sin of not
        separating into a different count each cause of action or claim for
        relief. Fourth, and finally, there is the relatively rare sin of asserting
        multiple claims against multiple defendants without specifying which of
        the defendants are responsible for which acts or omissions, or which of
        the defendants the claim is brought against. The unifying characteristic of
        all types of shotgun pleadings is that they fail to one degree or another, and
        in one way or another, to give the defendants adequate notice of the claims
        against them and the grounds upon which each claim rests.

Weiland v. Palm Beach Cnty. Sheriff’s Office, 792 F.3d 1313, 1321–23 (11th Cir. 2015)

(emphasis added) (internal citations removed). The Iowa federal courts have repeatedly

expressed concerns with shotgun pleadings, specifically in case where numerous causes of


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action are being brought that have different elements and standards. See Young v. Wells

Fargo & Co., 671 F.Supp.2d 1006, 1016 (S.D. Iowa 2009). “Such pernicious complaints

‘shift[ ] onto the defendant and the court the burden of identifying the plaintiff's genuine

claims and determining which of those claims might have legal support.’” Sagez v. Global

Agr. Invs., LLC, No. 11-CV-3059-DEO, 2015 WL 1647921, at *4 (N.D. Iowa Apr. 14,

2015) (quoting Gurman v. Metro Hous. & Redevelopment Auth., 842 F.Supp.2d 1151, 1153

(D. Minn. 2011)). Further, “‘[t]hey waste scarce judicial resources, inexorably broaden the

scope of discovery, wreak havoc on appellate court dockets, and undermine the public’s

respect for the courts.’” Temple v. Roberts, 15-CV-5062-JLV, 2018 WL 4120036, at *5

(D. S.D. Aug. 29, 2018) (quoting Vibe Micro, Inc. v. Shabanets, 878 F.3d 1291, 1295 (11th

Cir. 2018)).

       Plaintiff’s Second Amended Complaint clearly falls into the first and fourth

categories described by the Eleventh Circuit (multiple counts adopting all prior

allegations), as each claim set forth by Plaintiff contains the same paragraph stating,

“Plaintiff incorporates by reference the allegations of the proceeding paragraphs as though

set forth at length herein.” Doc. 30, at ¶¶ 441, 448, 461, 471, 478, 491. Plaintiff’s Second

Amended Complaint, as written, makes it incredibly difficult for Defendants to determine

the factual allegations supporting each of the claims brought against them. Plaintiff’s

Second Amended Complaint is 77 pages long, and contains nearly 500 factual allegations.




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Plaintiff alleges six different claims1—which have very different elements and/or standards

from each other—against numerous different Defendants.

         Additionally, Plaintiff’s Second Amended Complaint also falls under the fourth

category, as Plaintiff’s claims differ on which Defendants they are being brought against,

with some counts being brought against some, but not all, of the Defendants. The issue

with this is that some facts relevant to one claim are not relevant to another claim. Further,

some facts are related to the conduct of some defendants, but not others. For example, at

least 100—if not 200 or more—of the factual allegations contained in the Second Amended

Complaint mention only Defendant Ludwick or actions taken only by Defendant Ludwick.2

However, each of these factual allegations is incorporated into each of the claims against

Defendants Kious and Marion County. It is entirely unclear what effect, if any, these

numerous allegations have on the claims raised against Defendants Kious and Marion

County. Likewise, on its face, some of the claims raised by Plaintiff appear to relate solely

to the underlying criminal investigation, whereas others appear to relate solely to the

underlying civil litigation. However, once again, each of the claims incorporates factual


1
  Plaintiff’s Second Amended Complaint made several changes to the causes of actions being alleged by Plaintiff,
including the deletion of four causes of action that were previously included in Plaintiff’s First Amended Complaint
and the inclusion of a new cause of action. Despite these changes, the factual allegations contained in the Second
Amended Complaint remained virtually unchanged from the First Amended Complaint. Had Plaintiff’s Second
Amended Complaint been written in a succinct manner aimed only at providing the material allegations needed for
each cause of action, one would expect there to be numerous changes to the factual allegations, as the elements and
standards for the deleted causes of action differ from the other causes of action included in the Second Amended
Complaint. However, such changes did not occur, leading to serious questions as to what allegations are material to
each claim and which are simply unnecessary detail aimed at camouflaging the truly material allegations.
2
 Indeed, as is shown in Section C below (and several other sections), many of the factual allegations Plaintiff relies
upon to preclude dismissal of his claims against Defendants Kious and Marion County make no mention of either
Defendant. Rather, the factual allegations pertain only to Defendant Ludwick or actions taken solely by Defendant
Ludwick. It is unclear how Defendants are liable for Defendant Ludwick’s actions (Plaintiff provides no explanation),
making it virtually impossible for Defendants to be able to respond to such arguments, as Defendants Kious and
Marion County do not have personal knowledge of the actions allegedly taken by Defendant Ludwick.


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allegations that are unrelated to the underlying criminal investigation or underlying civil

litigation. Again, it is unclear what, if any, effect these factual allegations have on

Plaintiff’s various claims.

       At this point, Plaintiff has filed three different Complaints in this matter. None of

these Complaints has been written in a manner that would allow the Defendants to

reasonably understand which of the hundreds of factual allegations pertain to the claims

brought against each individual Defendant and which are wholly irrelevant. Plaintiff and

his attorneys have had ample opportunity to provide a clearly written Complaint. They

have chosen not to do so. The fact that Plaintiff has included so many factual allegations

to support his claims against Defendants Kious and Marion County that do not make any

mention of Defendants Kious and Marion County will lead to an exponential increase in

litigation costs, as Defendants will be required to undergo massive amounts of discovery

simply to understand what actions Defendant Ludwick did or did not take so that

Defendants Kious and Marion County can properly defend themselves. Due to Plaintiff’s

repeated failures to provide a coherent Complaint, the Court must dismiss Plaintiff’s

Second Amended Complaint.

B.     THE COURT CAN CONSIDER THE EXHIBITS INCLUDED IN
       DEFENDANTS’ PRE-ANSWER MOTION TO DISMISS, REGARDING
       THE ARREST WARRANT, THE DISTRICT COURT RULING
       FOLLOWING THE PRELIMINARY HEARING, AND THE JURY
       VERDICT FORM FROM THE UNDERLYING CRIMINAL TRIAL

       Plaintiff argues that the Court cannot consider the exhibits Defendants included in

their Renewed Rule 12(b)(6) Pre-Answer Motion to Dismiss and instead, may only

consider the exhibits if the Court converts Defendants’ Motion into a Motion for Summary


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Judgment.3 This is not true. As Defendants’ explained in their prior Brief, there is

considerable case law from the Eighth Circuit and numerous other jurisdictions showing

such exhibits may be considered on a motion to dismiss. Plaintiff’s Resistance does not

dispute this case law in any way, and instead, seems to suggest that the Court can never

consider materials outside the four corners of a complaint on a motion to dismiss.

         Case law from the Eighth Circuit completely contradicts Plaintiff’s position. E.g.,

Enervations, Inc. v. Minnesota Mining & Mfg., Co., 380 F.3d 1066, 1069 (8th Cir. 2004)

(courts may consider materials outside the complaint itself on a motion to dismiss, without

converting the motion into one for summary judgment, if the materials relied upon are

“necessarily embraced by the complaint.”); Greenman v. Jessen, 787 F.3d 882, 887 (8th

Cir. 2015) (stating courts may consider “some materials that are part of the public record

or do not contradict the complaint…” on a motion to dismiss).                                 Here, the exhibits

Defendants have introduced to this Court fall into the scope of information that may be

considered on a motion to dismiss. See id.; see also Doc. 31-1, pp. 5-7.4

C.       PLAINTIFF’S COUNT I ALLEGING A VIOLATION 42 U.S.C. § 1983
         CLAIM FOR FALSE ARREST MUST BE DISMISSED.5




3
 Plaintiff also attempts to ask the Court to consider a March 21, 2018 email and a February 25, 2019 Ruling from the
Iowa District Court for Marshall County (Exhibits 1 and 2). None of these materials were contained in Plaintiff’s
Second Amended Complaint, and Plaintiff provides no legal rationale explaining why the Court can take them into
consideration on a Motion to Dismiss.
4
  Plaintiff’s Resistance only discusses the arrest warrant—it makes no mention of the Ruling following the Preliminary
Hearing or the Jury Verdict Form. As such, Plaintiff’s Resistance is not in reference to these two exhibits, indicating
that Plaintiff does not object to their consideration.
5
 Plaintiff states in his footnote 7 that Defendants did not file any exhibits referenced in this Renewed Motion to
Dismiss. The Exhibits were attached to the end of Defendants’ Brief.


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       Plaintiff contends that there was not probable cause to support his arrest for the

murder of Shirley Carter. Plaintiff spends considerable energy attempting to discredit each

of the facts listed on the affidavit filed in connection with the application for the arrest

warrant to argue that no probable cause existed to support the arrest. However, when the

other findings of probable cause by the district court are considered—the district court’s

December 22, 2017 Order Following Preliminary Hearing and when the district court, at

the conclusion of presentation of both parties’ cases during the criminal trial, allowed the

case to go to the jury—it is clear that Plaintiff’s argument is meritless.

       Eighth Circuit case law is clear that the finding of probable cause on three different

occasions—one of which occurred at the end of the criminal trial—defeats Plaintiff’s false

arrest claim, as there can be no “false arrest” if probable cause existed. Rose v. City of

Mulberry, 533 F.3d 678, 680 (8th Cir. 2008); Anderson v. Larson, 327 F.3d 762, 770 (8th

Cir. 2003); Kurtz v. City of Shrewsbury, 245 F.3d 753, 758 (8th Cir. 2001). Plaintiff

attempts to discredit these findings by arguing that the facts supporting the arrest warrant

were not legitimate and arguing that Defendants did not follow-up on tips until shortly

before trial or in one instance, during trial. There are several issues with these arguments.

       First, Plaintiff provides no case law supporting his assertion that the three findings

of probable cause can be ignored because leads were not investigated until shortly before

trial. Indeed, Plaintiff has failed to point to a single case that is similar to the facts alleged

here. Second, Plaintiff’s attempts to discredit the finding of probable cause at trial by

submitting the case to the jury is unavailing, as Plaintiff’s own arguments show that the

alleged exculpatory evidence—except for one instance—was investigated prior to trial.


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Indeed, the exculpatory evidence Plaintiff alleges Defendants failed to investigate was

received by Plaintiff prior to his criminal trial. See Doc. 39-1, pp. 15–16. Thus, while

Plaintiff attempts to argue that the fact that case went to the jury “means nothing,” that is

simply false as the trial court, despite being made aware of the exculpatory evidence

Plaintiff attempts to rely upon here, determined there was sufficient probable cause to allow

for the jury to decide whether Plaintiff was guilty. See U.S. v. Thompson, 493 F.3d 359,

363 (8th Cir. 1974) (recognizing that standard for submitting case to jury to decide is

whether there is sufficient evidence to support a finding of conviction). Finally, while

Plaintiff cites to numerous allegations in his Second Amended Complaint to support his

claim against Defendant Kious, this argument is misplaced, as the vast majority of factual

allegations Plaintiff points to relate solely to actions taken by Defendant Ludwick—

Defendant Kious is not mentioned whatsoever. See Doc. 30, ¶¶ 85–95; 180–192; 204; 210;

223–228; 236–246; 363–364; 397–400; 406–415; 421 (referring only Defendant

Ludwick).6 It is not at all clear how Defendant Kious is liable for the alleged actions of

Defendant Ludwick.

         Accordingly, this claim must be dismissed.

D.       PLAINTIFF’S COUNT II ALLEGING VIOLATION OF 42 U.S.C. § 1983
         CLAIM FOR DUE PROCESS VIOLATION FOR ALLEGED
         CONCEALING OF EVIDENCE MUST BE DISMISSED.

         Plaintiff argues that it was a due process violation under 42 U.S.C. § 1983 for

Defendant Kious to provide inculpatory evidence to the Civil Plaintiffs in the underlying


6
  Plaintiff’s citations to specific factual allegations in his Second Amended Complaint appear to be inaccurate. The
references cited by Defendants here are to the factual allegations Defendants believe Plaintiff was attempting to cite
to.


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civil action but not to turn over exculpatory evidence to Mr. Carter. In other words,

Plaintiff appears to argue that by providing some information to the Civil Plaintiffs, Kious

was bound by the Constitution to provide alleged exculpatory evidence to Mr. Carter. In

support of this argument, Plaintiff does not cite to a single case, but rather, provides only

his own self-serving conclusions. However, as explained in the Brief in Support of the

Pre-Answer Motion to Dismiss, no subpoena was ever served on Defendant Kious or

Marion County to provide information to Mr. Carter in the underlying civil action, nor was

there any requirement under Brady v. Maryland, 373 U.S. 83, 83 S.Ct. 1194, 10 L.Ed.2d

215 (1963) to provide information to Plaintiff. The case law showing this was clearly

highlighted in Defendants’ prior Brief. Notably, Plaintiff makes no effort to argue that

Defendants’ explanation of the case law was wrong. Plaintiff’s argument under this claim

in regards to Kious is wholly lacking both in fact and in law. This claim must be dismissed.

E.     PLAINTIFF’S COUNT III ALLEGING VIOLATION OF 42 U.S.C. § 1983
       CLAIM FOR MONELL LIABILITY MUST BE DISMISSED.

       Plaintiff argues in his Resistance that the Monell liability claim cannot be dismissed

against the County, because the actions of Defendant Kious during the investigation were

so pervasive to indicate a policy or custom on behalf of the County and because the County

allegedly provided Kious inadequate training. Neither argument has merit and this claim

must be dismissed.

       First, Defendant Kious did not engage in any unlawful conduct, and therefore, there

can be no Monell liability attached to the County. Second, it is well-established that Monell

liability cannot be imposed upon a single incident, unless taken by the highest officials



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responsible for creating policy. E.g., Davison v. City of Minneapolis, Minn., 490 F.3d 648,

659 (8th Cir. 2007). Likewise, it is also established that Monell liability cannot be

established from the actions of a single employee, as this would turn Monell liability into

a strict liability claim. City of Oklahoma City v. Tuttle, 471 U.S. 808, 833 (1985) (“the

scope of § 1983 liability does not permit such liability to be imposed merely on evidence

of the wrongful actions of a single city employee not authorized to make city policy.”)

(Brennan, J., concurring); Jane Doe A v. Special Sch. Dist. of St. Louis Cnty., 682 F.Supp.

451, 457 (E.D. Mo. 1988) (“To hold a governmental entity liable on the basis of a policy

inferred from the “isolated misconduct of a single, low-level’ employee would amount to

imposing liability on the theory of “strict respondeat superior’ which was ‘rejected

in Monell.’”); Osborne v. Hawkins, No. 1:05CV00018 JLH/BD, 2007 WL 1540234, at *6

(E.D. Ark. May 24, 2007) (“[A] municipality cannot be held liable solely because it

employs a tortfeasor-or in other words, a municipality cannot be held liable under §

1983 on a respondeat superior theory.” “[T]he scope of § 1983 liability does not permit

such liability to be imposed merely on evidence of the wrongful action of

a single city employee not authorized to make city policy.”) (internal citations removed).

Plaintiff provides no case law showing that the alleged actions of a single, non-

policymaking employee, in a single instance, can impose Monell liability upon the

employee’s employer.

       Third, and in an effort to get around this defect in his claim, Plaintiff attempts to

argue that the County did not properly train Defendant Kious before assigning Kious to

Shirley Carter’s murder investigation. In order to support this theory, Plaintiff grossly


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misstates Defendant Kious’s prior deposition testimony in an effort to claim that the

training Kious received regarding detective work was from Kious watching television

shows, stating, “Defendant Kious acknowledged that the training he received on how to be

a detective came from what he had seen on television.” Doc. 39-1, p. 23.

        However, a review of the deposition testimony this quote is taken from, attached

hereto as Exhibit D, shows Plaintiff is completely misrepresenting Kious’s testimony.7 The

deposition transcript that this alleged “quote” was taken from, states, in relevant part:

        Q. During the early parts of the investigation, were there times where you
        and Agent Ludwick disagreed about what next steps should be?

        A. Yes.

        Q. What were those disagreements?

        A. Mainly on follow-up. In August of 2015 my perception of what a
        detective was was kind of what I’ve seen other people do or on TV. Me
        back from August 2015 to me now, I do things a lot differently, and this case
        is a large part of that just due to the complexity and the number of moving
        pieces.

Ex. D (emphasis added). As this statement shows, Kious in no way stated that the

“training” he received was from watching television; rather, all he garnered from television

at that point in his career was his perception of what detectives did. Id. This is hardly

surprising considering Kious was a new detective at that time. In fact, this statement makes




7
  The Court can consider this Exhibit on a Motion to Dismiss. As explained above, the Court can consider items
outside the four corners of the Complaint, if the item is “necessarily embraced” by the Complaint. Enervations, 380
F.3d at 1066 (8th Cir. 2004). Here, the deposition is “necessarily embraced” because Plaintiff is making direct
reference to the contents of the testimony from that deposition. See Dittmer Props., L.P. v. F.D.I.C., 708 F.3d 1011,
1021 (8th Cir. 2013) (finding it appropriate to consider agreements that were contemplated by or expressly mentioned
in the complaint).



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no mention at all of any training the County provided to Kious. Accordingly, Plaintiff’s

argument is based on a gross misrepresentation of Kious’s prior deposition testimony, and

must be rejected.8

         As such, Plaintiff has not identified any grounds that would justify precluding

dismissal on this claim. This claim must be dismissed.

F.       PLAINTIFF’S ARGUMENTS THAT HIS CONSPIRACY CLAIM IN
         VIOLATION OF 42 U.S.C. § 1983 MUST BE REJECTED BECAUSE
         PLAINTIFF DID NOT INCLUDE SUCH A CLAIM IN HIS SECOND
         AMENDED COMPLAINT.

         Plaintiff argues that his claim for conspiracy in violation of 42 U.S.C. § 1983 is a

proper claim. However, Plaintiff’s Second Amended Complaint does not contain such a

claim. See Doc. 30. Indeed, this claim was previously included in Plaintiff’s First

Amended Complaint, however, Plaintiff chose to abandon this claim. Compare Doc. 8

with Doc. 30. These arguments should be disregarded.

G.       PLAINTIFF’S COUNT IV ALLEGING MALICIOUS PROSECUTION
         MUST BE DISMISSED.

         Plaintiff contends he can satisfy both the want of probable cause and malice

elements needed to bring a malicious prosecution claim. In regards to the probable cause

argument, Plaintiff simply repeats the arguments he raised in his Count I for False Arrest.

As was explained in Section C above, this argument is meritless and is insufficient to avoid

dismissal.



8
  Plaintiff also asks the Court to consider an alleged March 21, 2018 email. Despite being allegedly “highly relevant,”
Plaintiff has not felt it necessary to include this email in his original Complaint, First Amended Complaint, or Second
Amended Complaint. Plaintiff identifies no legal basis that would permit the Court to consider facts Plaintiff himself
failed to include in his Complaints. This request must be rejected.


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       In regards to malice element, as Plaintiff pointed out in his Resistance, ordinarily

malice can be shown by actual malice, or can be inferred by a want of probable cause. Doc.

39-1, p. 28 (quoting Wilson v. Hayes, 464 N.W.2d 250, 260 (Iowa 1990)). However,

Plaintiff failed to note that the ability to infer malice does not apply to all defendants.

Indeed, the Iowa courts has made clear that when a plaintiff brings a claim for malicious

prosecution against defendants who are public officials—which includes law enforcement

officers acting in their official capacity—malice can only be shown through the actual

malice standard. Yoch v. City of Cedar Rapids, 353 N.W.2d 95, 102-03 (Iowa Ct. App.

1984). For malicious prosecution claims brought against law enforcement officers like

Defendant Kious, malice cannot be inferred from want of probable cause. Id. at 102. Under

this standard, Plaintiff must show that Defendant Kious’s instigation of criminal

proceedings against Plaintiff was “primarily inspired by ill-will, hatred, or wrongful

motive.” Vander Linden v. Crews, 231 N.W.2d 904, 906 (Iowa 1975). “If the defendant’s

purpose in instigating proceedings was otherwise proper, the fact he felt indignation or

resentment toward the plaintiff will not subject him to liability.” Id.

       Here, Plaintiff has no evidence whatsoever to suggest that Defendant Kious

instigated criminal proceedings against Plaintiff due to “ill-will, hatred, or wrongful

motive.” Id. Instead, Plaintiff’s argument is entirely based upon the Court inferring malice

due to alleged defects in the criminal investigation of Shirley Carter’s murder. See Doc.

39-1, pp. 28-32. However, this standard does not apply to Defendant Kious. Accordingly,

this claim must be dismissed.




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H.     PLAINTIFF’S COUNT V ALLEGING ABUSE OF PROCESS MUST BE
       DISMISSED.

       Plaintiff argues that his abuse of process claim against Kious was not based upon

the underlying criminal action; but rather, was based upon the underlying civil action. At

the outset, Plaintiff has failed to provide the applicable standard for abuse of process to

individuals who were not parties to the underlying case. The law is clear that in order to

bring a claim for abuse of process against a non-party to the underlying action, the plaintiff

must show the non-party “actively participated” in the underlying action. CJS Process, §

154. As that section makes clear, “[i]n order to constitute active participation in litigation,

for purposes of the tort of malicious abuse of process, more is required than

encouragement, advice, or consultation.” Id. Plaintiff alleges that Kious “abused” the civil

action—to which he was not a party—by using the civil action to “violate” Plaintiff’s

constitutional rights in an effort to obtain statements and evidence against him that Kious

otherwise could not have obtained from him; that Kious tried to “shore up” the criminal

investigation in order to maintain the civil judgment against Plaintiff; and that Kious

“conspired” with the Civil Plaintiffs by working with them in the civil action. None of

these arguments have merit. More fundamentally, the allegations put forth by Plaintiff do

not comport with the purpose that claims for abuse of process exist for.

       Kious will address each claim in turn.

       1.     Plaintiff’s Arguments in Support of His Abuse of Process Claim Fail to Plead
              an Actionable Claim.

       Plaintiff’s abuse of process claim has a fundamental error to it: Kious’s actions—

even accepted as true—do not satisfy the “improper purpose” element. Indeed, this is one


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of the fundamental elements Plaintiff must show. See e.g., Palmer v. Tandem Mgmt. Srvs.,

Inc., 505 N.W.2d 813, 817 (Iowa 1993). Normally the improper purpose sought is an

attempt to secure from another some collateral advantage not properly includable in the

process itself. Id. This amounts to “a form of extortion in which a lawfully used process

is perverted to an unlawful use.” Id. “For abuse of process to occur there must be use of

the process for an immediate purpose other than that for which it was designed and

intended.” Schmidt v. Wilkinson, 340 N.W.2d 282, 284 (Iowa 1983). Courts interpreting

this provision have stated that a typical abuse of process case is one in which a party—

which is entitled to a certain amount of rent from another party—files a civil lawsuit against

the other party in an effort to “coerce” the other party into agreeing to paying a higher rent.

See e.g., id. (“The usual case of abuse of process is one of some form of extortion, using

the process to put pressure upon the other to compel him to pay a different debt or to take

some other action or refrain from it.”) (emphasis in original); Sage Intern., Ltd. v. Cadillac

Gage, Co., 556 F.Supp. 381, 389 (E.D. Mich. 1982) (same). In other words, the abuse of

process claim is aimed at conduct involving the use of a legal process when the party

initiating the process is not interested in obtaining the relief provided by the proceeding.

See id. Indeed, this is consistent with the Restatement (Second) of Torts, § 682, which

provides:

       One who uses a legal process, whether criminal or civil, against another
       primarily to accomplish a purpose for which it is not designed, is subject to
       liability to the other for harm caused by the abuse of process.

(emphasis added). The comments of this section provide helpful guidance:




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       b. “Primarily.” The significance of this word is that there is no action for
       abuse of process when the process is used for the purpose for which it is
       intended, but there is an incidental motive of spite or an ulterior purpose of
       benefit to the defendant. Thus the entirely justified prosecution of another on
       a criminal charge, does not become abuse of process merely because the
       instigator dislikes the accused and enjoys doing him harm; nor does the
       instigation of justified bankruptcy proceedings become abuse of process
       merely because the instigator hopes to derive benefit from the closing down
       of the business of a competitor.

Restatement (Second) of Torts, § 682, cmt. b.

       Plaintiff’s argument is that Kious “abused” the civil proceedings by using the

proceeding to obtain a judgment against Plaintiff, that would then allow law enforcement

to charge Plaintiff with the murder of his mother. Doc. 39-1, p. 36 (“Kious used the civil

process to accomplish a purpose for which it was not designed—to manipulate the trial into

a civil liability finding which could then be leveraged into criminal charges.”). In other

words, Plaintiff is arguing that the civil action was pursued in order to obtain a judgment

against him—which is exactly what the purpose of the civil proceedings are for. As such,

from Plaintiff’s own argument, the primary purpose for initiating the civil action was to

obtain a judgment against Plaintiff. See id. As such, it does not matter that Plaintiff alleges

Kious may have had an ulterior or wrongful motive for assisting in the proceeding. See

Restatement (Second) of Torts, § 682, cmt. b. Rather, all that matters is that the main

purpose of the civil proceeding was for the purpose the proceeding existed for: to obtain a

monetary judgment against another party. Id. Plaintiff’s claim fails as a matter of law.

       2.     Plaintiff’s Claim that Kious Abused the Underlying Civil Action in an Effort
              to Obtain Additional Statements and Evidence Fails to Support a Cause of
              Action for Abuse of Process.




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       Even if the Court chose not to dismiss Plaintiff’s abuse of process claim for the

reason expressed immediately above, dismissal is still warranted. In support of this ground

for liability, Plaintiff alleges Kious abused the underlying action by “providing questions”

to counsel in the civil action to ask Plaintiff and by waiting until after the civil trial had

occurred and using statements from the that trial to charge Mr. Carter with murder. Doc.

39-1, p. 34. Of particular note, Plaintiff has not cited a single case showing that these

grounds have ever been used to support a finding of abuse of process. Regardless, Kious

will address each separate subclaim.

       First, in regards to Kious providing questions, there is nothing in the Second

Amended Complaint to support this claim. In support of its position, Plaintiff states:

       When asked if Kious ever directed the Civil Plaintiffs’ counsel to ask
       Plaintiff specific questions in Plaintiff’s deposition, Kious stated he
       ‘[didn’t] remember anything specific, but [he] very well could have.

Id. (emphasis added). From this statement of having no recollection, Plaintiff somehow

deduces that Kious did in fact do the thing he had no recollection of doing, stating, “Kious

was not entitled to question Plaintiff under oath at the time he provided questions to the

Civil Plaintiffs to ask Plaintiff under oath in the Civil Lawsuit.” Id. This is a gross

misstatement of the alleged deposition testimony and must be rejected.

       Second, in regards to waiting until after the civil trial concluded and using

statements and evidence from that trial, Plaintiff’s position contradicts basic, black-letter

law regarding law enforcement’s ability to collect and use evidence and ignores the fact

that trials are open to the public and a matter of public record. Even accepting Plaintiff’s

contention that police could not otherwise obtain the statements and evidence allegedly


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used prior to the trial, the fact remains that law enforcement could use this evidence because

it was introduced into a public record at a trial that was open to the public. Walter v. U.S.,

447 U.S. 649, 656 (1980) (holding it is not unlawful for police to use evidence obtained

through lawful means). Plaintiff provides no case law showing that it is unlawful for law

enforcement to use evidence that is revealed in a public trial, nor could he. It is axiomatic

that law enforcement can use statements and evidence that are publicly available.

       Accordingly, all Plaintiff’s Second Amended Complaint shows is that Kious has no

recollection of requesting the Civil Plaintiffs ask Mr. Carter certain questions and that

Kious may have relied upon publicly available statements and evidence. This ground fails

as a matter of law and does not support a showing that Defendant Kious “abused” the civil

case to which he was not a party.

       3.     Plaintiff’s Claim that Kious Abused the Underlying Civil Action by
              Allegedly Trying to “Shore Up” the Investigation to Maintain the Civil
              Judgment Fails to Support a Cause of Action for Abuse of Process.

       Plaintiff’s second ground is entirely puzzling, as it is directed at actions taken in

furtherance of the criminal investigation and is wholly separate from any action taken

during the course of the underlying civil action. Plaintiff provides no legal support for his

incredibly broad claim that actions taken outside the scope of the legal proceeding

underlying an abuse of process claim can give rise to such a claim. Nor could Plaintiff, as

the case law makes clear that in order to establish such a claim, there must be the use of a

legal process. Iowa Supreme Ct. Attny. Disciplinary Bd. v. Barnhill, 885 N.W.2d 408, 419

(Iowa 2016) (stating that “use of a legal process” is a necessary element to an abuse of

process claim). It is entirely unclear how actions taken in furtherance of a criminal


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investigation could constitute an abuse of a civil lawsuit. Plaintiff’s Resistance provides

no case law to help explain this issue.

       Further, the only citation Plaintiff makes in support of this argument is to paragraph

295 of the Second Amended Complaint, which alleges that Charity Roush was interviewed

by Kious on November 13, 2018 and that Ms. Roush provided alleged exculpatory

evidence. Sec. Am. Complaint, ¶ 295. From this, Plaintiff attempts to extrapolate that

Defendant Kious did this in an effort to be able to say “he followed up on leads” so that

the verdict in the civil action would not be overturned. Doc. 39-1, p. 35. However, there

is nothing in the Complaint that alleges that this was Kious’s motive for interviewing Ms.

Roush (or that Kious had any specific motive for interviewing Ms. Roush). Rather,

Plaintiff’s argument is pure conjecture, wholly unsupported by any allegations in his

Second Amended Complaint.

       This ground fails as a matter of law.

       4.     Plaintiff’s Claim that Defendant Kious “Conspired” with the Civil Plaintiffs
              in the Underlying Civil Action Fails to Support a Cause of Action for Abuse
              of Process.

       Finally, Plaintiff alleges that Defendant Kious abused the underlying civil action by

“conspiring” with the Civil Plaintiffs. Plaintiff attempts to support this argument by citing

to portions of the Second Amended Complaint which alleges: 1) that Kious received

information from the girlfriend of Billy Carter (Plaintiff’s father); 2) that Kious met with

Civil Plaintiffs’ counsel prior to charges being filed against Plaintiff; and 3) that Kious

agreed to provide certain criminal investigation information to Civil Plaintiffs in exchange




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for a conversation with the Civil Plaintiffs. Once again, Plaintiff has not cited any case

law showing that any of these grounds can support an abuse of process claim.

        Further, Plaintiff’s allegations show only that Kious agreed to cooperate with the

Civil Plaintiffs.   However, as explained above, in order to show Kious “actively

participated” in the civil action, “more is required than encouragement, advice, or

consultation.” CJS Process, § 154. Plaintiff’s allegations only show that, at most, Kious

provided advice and consultation to the Civil Plaintiffs. This ground fails as a matter of

law.

        Accordingly, Plaintiff has failed to articulate any basis to support a claim for abuse

of process against Kious. This claim must be dismissed.

        I.     PLAINTIFF’S COUNT VI ALLEGING DUE PROCESS VIOLATION
               BROUGHT UNDER 42 U.S.C. § 1983 FOR FAILURE TO
               INVESTIGATE MUST BE DISMISSED.

        Plaintiff asserts that his claim for due process violation for an alleged failure to

investigate should not be dismissed.        Specifically, Plaintiff argues that the Second

Amended Complaint shows Kious purposefully ignored evidence showing Plaintiff’s

innocence and that Kious employed systematic pressure to implicate Plaintiff. Doc. 39-1,

pp. 37-42. Plaintiff’s arguments fail in several respects.

        First, Plaintiff ignores the fact that law enforcement officers are not required to

undertake every single possible effort to exonerate a suspect. Baker v. McCollan, 443 U.S.

137, 145 (1979). In addition, law enforcement officers cannot be held liable for not

believing certain witnesses or discounting evidence that does not fit with the other evidence

in the case. Winslow v. Smith, 696 F.3d 716, 734 (8th Cir. 2012). Plaintiff’s arguments


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are inconsistent with this clearly-established law, because Defendant Kious cannot be held

liable for not believing every witness who provided information and for not following up

on every single lead.9 Indeed, Plaintiff’s own words indicate that dismissal of this claim is

necessary, stating, “what [the Second Amended Complaint] does allege is that Kious

disregarded myriad leads and viable exculpatory evidence because it did not fit Kious’s

theory of the crime.” Doc. 39-1, p. 38. The law explained above clearly indicates law

enforcement officers cannot be held liable for such conduct. Baker, 443 U.S. at 145;

Winslow, 696 F.3d at 734.

         Second, the case law analyzing the failure to investigate does not support Plaintiff’s

position. The Eighth Circuit has made clear that failing to follow-up on leads or ignored

conflicting evidence does not support a finding of a due process violation. Johnson v.

Moody, 903 F.3d 766, 773 (8th Cir. 2018) (“Evidence that investigators ignored factual

inconsistencies in the evidence, negligently failed to look into leads, and did not question

the alleged victim's credibility is insufficient to establish that they investigated in a

reckless, conscience-shocking manner.”); Clemmons v. Armontrout, 477 F.3d 962, 966 (8th

Cir. 2007) (in case where plaintiff had murder conviction and death sentence overturned,

finding no constitutional violation for failure to investigate when officer failed to


9
  The need for this discretion is clearly illustrated by Plaintiff’s Second Amended Complaint. While Plaintiff
continuously harps on the leads and exculpatory evidence that was not followed up on, a close review of the paragraphs
cited to by Plaintiff shows that the “leads” and “exculpatory evidence” were wildly contradictory in nature. Indeed,
Plaintiff’s Second Amended Complaint states that tips were received that each of the following individuals were
connected in some way to Shirley Carter’s murder: Joel Followill, John Followill, Joseph Sedlock, Matt Kamerick,
Callie Shinn, Michelle Dnaiels, Jason Beaman, Jeremiah Larid, Amber Shinn, Chris Brees, Kory Ford, Nichole
Sedlock, Rory Pearson, Sue Dabb, Jim Dabb, Bill Carter, and Jason Carter. As this clearly shows, law enforcement
was provided with numerous tips that pointed in numerous different directions. In such cases, law enforcement should
not be compelled to follow-up on leads that do not fit the evidence obtained. Such a requirement would place an
enormous burden on law enforcement and result in the waste of precious resources.


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investigate another suspect named by an eyewitness shortly after the murder occurred);

Akins v. Epperly, 588 F.3d 1178, 1184 (8th Cir. 2009) (in noting that officers did not engage

in any improper means of attempting to generate evidence against plaintiff, finding

plaintiff’s claim for failure to investigate failed in case where officers’ investigation

resulted in flawed evidence and where officers negligently failed to investigate leads and

inconsistencies in the evidence). Indeed, the cases in which the federal courts have refused

to dispose of due process claims for failure to investigate involve cases in which law

enforcement engaged in overt, wrongful conduct to manufacture evidence or when law

enforcement had no reasonable basis to believe or rely upon the evidence pointing towards

the plaintiff’s guilt. See Winslow, 696 F.3d at 734 (reversing grant of summary judgment

on failure to investigate claim because officers began coaching witnesses to provide false

testimony to convict plaintiff); Wilson v. Lawrence Cnty., 260 F.3d 946, 957 (8th Cir. 2001)

(affirming denial of summary judgment on failure to investigate claim when officers failed

to investigate other leads despite only evidence being a confession from plaintiff—who

had limited intelligence and mental capacities—that officers had knowingly obtained

through coercive interrogation methods); Furgison v. Short, 2:14-cv-04062-NKL, 2015

WL 4877539, at *29 (W.D. Mo. Aug. 14, 2015) (denying summary judgment on failure to

investigate claim when officers coached witness into providing false testimony in effort to

convict plaintiff).

       Here, Plaintiff’s Second Amended Complaint shows only that Defendant Kious

failed to look into leads or failed to uncover all possible exculpatory information. At most,

these facts indicate negligence on the part of Defendant Kious.           However, that is


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insufficient to impose liability for a due process violation. Johnson, 903 F.3d at 773

(“negligent failure to investigate inconsistencies or other leads” is not “conscience-

shocking misconduct.”). Plaintiff has no evidence and makes no factual allegations that

suggest Defendant Kious engaged in conduct similar to those where failure to investigate

claims were not disposed of, such as pressuring witnesses to provide false testimony.

       This claim must be dismissed.

                                      CONCLUSION

       For the reasons set forth above, Plaintiff has failed to articulate any basis on any of

the claims alleged that is sufficient to prevent dismissal. The Defendants, Marion County,

Iowa and Reed Kious, Marion County Deputy Sheriff in his individual capacity,

respectfully request the Court dismiss Plaintiff’s Second Amended Complaint in its

entirety.




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ATTORNEYS FOR DEFENDANT MARK LUDWICK




                                        CERTIFICATE OF SERVICE
    The undersigned hereby certifies that a true copy of the foregoing instrument was served upon one
    of the attorneys of record for all parties to the above-entitled cause by serving the same on such
    attorney at his/her respective address/fax number as disclosed by the pleadings of record herein,
    on the ____
            30 of _______________,
                     July                2020 by:

       U.S. Mail                              FAX
       Hand Delivered                         UPS
       Federal Express                       XOther______________________
                                                   EFILE
       /s/ Linda Righi
    ____________________________________________________________________________




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              Case 4:19-cv-00401-CRW-CFB Document 47 Filed 07/30/20 Page 27 of 29                                                                    2
                                                                                                1                    A P P E A R A N C E S
       EXHIBIT D                                                             1                  2       Plaintiff by:      ED BULL
                                                                                                                           Madison County Attorney
                                                                                                3                          MATHIAS ROBINSON
   09:01:26    1         IN THE IOWA DISTRICT COURT FOR MARION COUNTY
                                                                                                                           Assistant Madison County Atty.
               2        STATE OF IOWA,          )                                               4                          214 East Main Street
                                                )                                                                        Knoxville, Iowa 50138
               3                    Plaintiff,  )       FECR029316
                                                )                                               5
               4        vs.                     )       VIDEOTAPED                                      Defendant by:     CHRISTINE E. BRANSTAD
                                                )
               5        JASON CARTER,           )       DEPOSITION OF                           6                         Attorney at Law
                                                )                                                                         Branstad & Olson Law Office
               6                   Defendant.   )       REED KIOUS                              7                         2501 Grand Avenue
                        _______________________ )       VOLUME I
               7                                                                                                          Des Moines, Iowa 50309
                                                                                                8                         branstad@branstadlaw.com
               8                    THE VIDEOTAPED DEPOSITION OF
               9        REED KIOUS, VOLUME I, taken before                                      9                         ALISON KANNE
              10        Gale Sweeney Christensen, Certified Shorthand                                                     Attorney at Law
                                                                                               10                         Wandro & Associates
              11        Reporter, Registered Professional Reporter,                                                       2501 Grand Avenue
              12        and Notary Public of the State of Iowa,                                11                         Des Moines, Iowa 50312
                                                                                                                          akanne@2501grand.com
              13        commencing at 9:36 a.m., July 24, 2018, at
                                                                                               12
              14        211 North Godfrey Lane, Knoxville, Iowa.                                                              and
              15
                                                                                               13
                                                                                                                          WARD A. "SAM" ROUSE
              16                                                                               14                         Attorney at Law
              17                                                                                                          Rouse Law P.C.
                                                                                               15                         4940 Pleasant Street
              18
                                                                                                                          West Des Moines, Iowa 50266
              19                                                                               16                         wardrouse@rouselaw.us
              20
                                                                                               17       Also present:     Jason Carter
              21                                                                                                          Bart Howard, videographer
              22                                                                               18
                                                                                               19
              23

              24        Reported by:     Gale Sweeney Christensen,                             20
                                         CSR, RPR
              25
                                                                                               21
                                                                                               22
                         SWEENEY COURT REPORTING (515) 244-6373                                23
                   320 Insurance Exchange Bldg., Des Moines, IA 50309
                                                                                               24
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                                                                                                         SWEENEY COURT REPORTING (515) 244-6373
                                                                                                    320 Insurance Exchange Bldg., Des Moines, IA 50309
                                                                         3                                                                           4
        1                      INDEX OF EXAMINATION                                             1                    P R O C E E D I N G S
        2          Examination by                  Page                                         2                   THE VIDEOGRAPHER:   On the record.
        3          Ms. Branstad                     4                                           3                        REED KIOUS,
        4                                                                                       4       called as a witness, having been first duly
        5                     INDEX OF ATTORNEY REQUESTS                                        5       sworn, testified as follows:
        6          Request by                Page        Line                                   6                      DIRECT EXAMINATION
        7          Ms. Branstad              6           25                         09:36:51    7       BY MS. BRANSTAD:
        8          Ms. Branstad              54          19                         09:36:51    8       Q.   Please state and spell your name for the
        9          Ms. Branstad              69          12                         09:36:54    9       record.
      10           Ms. Branstad              81          6                          09:36:54   10       A.   Reed Kious, R-e-e-d, K-i-o-u-s.
      11                                                                            09:36:59   11       Q.   As you know, we are here in the matter
      12                                                                            09:37:02   12       of State versus Jason Carter.        What is your
      13                           INDEX OF EXHIBITS                                09:37:05   13       occupation?
      14           Exhibits       Referred to on page                               09:37:05   14       A.   I'm a deputy sheriff here at the
      15           3              173                                               09:37:07   15       sheriff's office in Marion County, and I am
      16           4              173                                               09:37:10   16       assigned to be a detective.
      17                                                                            09:37:11   17       Q.   Have you had your deposition taken
      18                                                                            09:37:13   18       before?
      19                                                                            09:37:13   19       A.   Yes.
      20                                                                            09:37:14   20       Q.   How many times do you think you've had
      21                                                                            09:37:16   21       your deposition taken before?
      22                                                                            09:37:17   22       A.   Approximately ten.
      23                                                                            09:37:18   23       Q.   So I won't go through any of the
      24                                                                            09:37:21   24       reminders for deposition except this.            If you
      25                                                                            09:37:24   25       think of anything that you have omitted or
                   SWEENEY COURT REPORTING (515) 244-6373                                               SWEENEY COURT REPORTING (515) 244-6373
               320 Insurance Exchange Bldg., Des Moines, IA 50309                                   320 Insurance Exchange Bldg., Des Moines, IA 50309
1 of 64 sheets                                                          Sweeney Court Reporting                                              Page 1 to 4 of 175
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                                                            41                                                                          42
10:27:42    1       That's all I know.     Thank you.   D8 is              10:28:41    1       about it or get any other information from
10:27:44    2       Dilaudid, and the car that Charity Rousch              10:28:44    2       Kaitlin Ford?
10:27:47    3       has.    I believe she acquired it in 2016, and         10:28:45    3       A. I    don't believe so, as I don't have it
10:27:49    4       it's a white car.     And I know what car it is.       10:28:48    4       written down.     And I may have a recording of
10:27:53    5       I just can't think of what it is off the top           10:28:56    5       this.     Again, I have to look at that case
10:27:55    6       of my head.                                            10:28:58    6       file.
10:27:56    7       Q. Okay.     So that was the tip.   What was           10:28:59    7       Q. You    then list four different interviews
10:28:00    8       your conversation after the tip?                       10:29:07    8       with Bill Carter.     Were those all of the
10:28:02    9       A. I    talked to them via phone.   They again         10:29:11    9       times that you spoke with Bill Carter?
10:28:06   10       stated this information was from talking in            10:29:13   10       A. No,    they were not.
10:28:08   11       the group.     I asked who told them the               10:29:15   11       Q. How    many times do you think you've
10:28:10   12       information.     They stated they had heard this       10:29:16   12       spoken with Bill Carter?
10:28:12   13       information from Christine McCombs                     10:29:18   13       A. Probably around ten times in person.
10:28:13   14       approximately one year ago, in 2017.         And       10:29:26   14       Q. How many times on the phone?
10:28:15   15       Kristine told her she was shocked to learn             10:29:28   15       A. Maybe half as many.
10:28:17   16       about it, as she used to date Joel.                    10:29:32   16       Q. Did you ever hear Mark Ludwick tell Bill
10:28:19   17                 The source also stated they heard            10:29:50   17       Carter that he was sure that Jason Carter was
10:28:21   18       this information from Jason Beaman                     10:29:54   18       the one who shot Shirley Carter?
10:28:23   19       approximately one year ago as well and that            10:29:59   19       A. I    can't recall those specific words, but
10:28:25   20       he told them no specifics and that it was the          10:30:03   20       that was no secret that Mark believed that
10:28:27   21       same story.     The source stated they read            10:30:06   21       Jason killed his mother and that Bill would
10:28:29   22       about Jason Carter getting accused and wanted          10:30:10   22       have known that based on talking with Mark.
10:28:32   23       to contact law enforcement with the                    10:30:13   23       Q. Did    Mark Ludwick tell Bill Carter that
10:28:34   24       information.                                           10:30:20   24       early in the investigation?
10:28:34   25       Q. Did    you ask if -- who else might know            10:30:21   25       A. I    don't know.   I wasn't really involved
                    SWEENEY COURT REPORTING (515) 244-6373                                     SWEENEY COURT REPORTING (515) 244-6373
                320 Insurance Exchange Bldg., Des Moines, IA 50309                         320 Insurance Exchange Bldg., Des Moines, IA 50309
                                                            43                                                                          44
10:30:23    1       with this case early in the investigation              10:31:38    1       about it but nothing really specifically
10:30:25    2       other than the day of the homicide and maybe           10:31:40    2       about what was asked.      If there was I can't
10:30:27    3       a day or two after.     And when I was involved,       10:31:43    3       really recall the conversation.       It wasn't
10:30:30    4       it was as a road deputy.                               10:31:45    4       notable to me.
10:30:33    5       Q. When    did you really become involved in           10:31:46    5       Q. During    the early parts of the
10:30:36    6       this case?                                             10:31:51    6       investigation, were there times where you and
10:30:36    7       A. August    of 2015 is what I would say.      I       10:31:54    7       Agent Ludwick disagreed about what next steps
10:30:45    8       did do things on June 19th, though.         I went     10:31:59    8       should be?
10:30:47    9       to Jason Carter's home.     I went with them to        10:31:59    9       A. Yes.
10:30:51   10       get the grain tickets both out of Bill and             10:32:00   10       Q. What were    those disagreements?
10:30:53   11       Jason's truck.     And it wasn't just me.      There   10:32:02   11       A. Mainly on    follow-up.   In August of 2015
10:30:56   12       were other law enforcement officers there as           10:32:10   12       my perception of what a detective was was
10:30:58   13       well.    And then other than that, I just              10:32:13   13       kind of what I've seen other people do or on
10:31:02   14       stayed at Pleasantville City Hall and did              10:32:16   14       TV.     Me back from August 2015 to me now, I do
10:31:05   15       what I was told.                                       10:32:21   15       things a lot differently, and this case is a
10:31:06   16       Q. Let's    talk a little bit about your               10:32:23   16       large part of that just due to the complexity
10:31:08   17       interaction with Agent Ludwick with regard to          10:32:27   17       and the number of moving pieces.
10:31:11   18       this case.     First, what did Agent Ludwick           10:32:29   18                  A lot of times I would ask for DCI
10:31:14   19       tell you about having his deposition taken?            10:32:33   19       to come down and conduct a follow-up
10:31:17   20       A. That    you were personable with him and            10:32:34   20       interview or keep them apprised of things
10:31:22   21       that I shouldn't smirk or seem snarky and              10:32:36   21       that I was doing.     And they would, for the
10:31:30   22       just tell the truth.                                   10:32:40   22       most part, come down and assist or provide
10:31:32   23       Q. Did    he tell you anything about what              10:32:42   23       assistance to me.     But sometimes with
10:31:34   24       happened in his deposition or what was asked?          10:32:46   24       follow-up it was Des Moines trying to track
10:31:36   25       A. I    think there was some brief discussion          10:32:48   25       something down, it was sometimes hard to get
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14:59:08   1        have submitted.      And I do have those files in    15:00:33    1       the record for today.
14:59:11   2        my computer.                                         15:00:34    2               THE VIDEOGRAPHER:   Off the record.
14:59:12   3        Q.   And I am going to ask that we mark that         15:00:37    3               (Deposition adjourned at 3 p.m.)
14:59:15   4        separately as Deposition Exhibit 3.       And then               4
14:59:22   5        while we've been sitting here, you've had a                      5
14:59:24   6        number of reports in front of you that you've                    6
14:59:26   7        referred to?                                                     7
14:59:27   8        A.   Yes.                                                        8
14:59:28   9        Q.   And can we mark those as a group as                         9
14:59:31   10       Deposition Exhibit 4.                                           10
14:59:38   11                   And then I will just ask one more                   11
14:59:50   12       question for today, and then we can suspend                     12
14:59:52   13       until Friday, but we've had a number of                         13
14:59:55   14       reports that have been discussed that you                       14
14:59:58   15       believe have been sent to the DCI and now are                   15
15:00:02   16       no longer findable.                                             16
15:00:04   17       A.   Yes.                                                       17
15:00:05   18       Q.   Do you have a list of which reports                        18
15:00:07   19       those are or a total number of those?                           19
15:00:09   20       A.   I think four or five.     I know I had made                20
15:00:12   21       a list at one time and sent an email --                         21
15:00:15   22       either sent an email or talked to Special                       22
15:00:21   23       Agent Ludwick in person asking if he could                      23
15:00:24   24       locate these reports or recordings.                             24
15:00:29   25                   MS. BRANSTAD:   Okay.   We will close               25
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           1                  C E R T I F I C A T E
           2
           3                I, Gale Sweeney Christensen, a
                    Certified Shorthand Reporter of the State of
           4        Iowa and Registered Professional Reporter, do
                    hereby certify that there came before me at
           5        the time, date, and place hereinbefore
                    indicated, the witness named on the caption
           6        sheet hereof, who was by me duly sworn to
                    testify to the truth of said witness's
           7        knowledge, touching and concerning the
                    matters in controversy in this cause; that
           8        the witness was thereupon examined under
                    oath, the examination taken down by me in
           9        shorthand, and later reduced to printed form
                    under my supervision and direction, and that
           10       the deposition is a true record of the
                    testimony given and of all objections
           11       interposed.
           12               I further certify that I am neither
                    attorney or counsel for, or related to or
           13       employed by any of the parties to the action
                    in which this deposition is taken, and
           14       further that I am not a relative or employee
                    of any attorney or counsel employed by the
           15       parties hereto or financially interested in
                    the action.
           16
           17                   Dated at Des Moines, Iowa, this 7th

           18       day of August, 2018.
           19
           20
                                       ----------------------------
           21                          CERTIFIED SHORTHAND REPORTER,
                                       REGISTERED PROFESSIONAL
           22                          REPORTER, AND NOTARY PUBLIC

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